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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI

RHETT LINVILLE,                                         )
                                                        )
           Plaintiff,                                   )
                                                        )
v.                                                      )      Cause No. 4:10CV1577(JCH)
                                                        )
NCO FINANCIAL SYSTEMS, INC.,                            )
                                                        )
           Defendant.                                   )


                                               ORDER

           The Court having been advised by counsel for all parties that the above action has been

settled:

           IT IS HEREBY ORDERED that all pending motions are denied without prejudice.

           IT IS FURTHER ORDERED that counsel shall file within sixty (60) days from the date

of this Order, a stipulation for dismissal, a motion for leave to voluntarily dismiss, or a proposed

consent judgment. Failure to timely comply with this Order shall result in the dismissal of this

action with prejudice.



                    Dated this 16th of February, 2011



                                                            ______________________
                                                                  \s\ Jean C. Hamilton___________
                                                            UNITED STATES DISTRICT JUDGE
